B6 Summary (Official Form 6 - Summary) (12/07)


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                                                           United States Bankruptcy Court
                                                                Northern District of California
 In re          Patricia Maria Murillo                                                                    Case No.      13-40093
                                                                                                    ,
                                                                                   Debtor
                                                                                                          Chapter                        13




                                                               SUMMARY OF SCHEDULES
    Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
    B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
    Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
    also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




             NAME OF SCHEDULE                         ATTACHED           NO. OF        ASSETS                LIABILITIES                  OTHER
                                                       (YES/NO)          SHEETS

A - Real Property                                         Yes             1                 442,500.00


B - Personal Property                                     Yes             4                    8,570.00


C - Property Claimed as Exempt                            Yes             1


D - Creditors Holding Secured Claims                      Yes             1                                         899,422.56


E - Creditors Holding Unsecured                           Yes             2                                               0.00
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                           Yes             9                                          34,251.00
    Nonpriority Claims

G - Executory Contracts and                               Yes             1
   Unexpired Leases

H - Codebtors                                             Yes             1


I - Current Income of Individual                          Yes             1                                                                       8,240.00
    Debtor(s)

J - Current Expenditures of Individual                    Yes             2                                                                       8,040.00
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                23


                                                                    Total Assets            451,070.00


                                                                                     Total Liabilities              933,673.56




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Form 6 - Statistical Summary (12/07)


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                                                           United States Bankruptcy Court
                                                                Northern District of California
 In re           Patricia Maria Murillo                                                                             Case No.   13-40093
                                                                                                         ,
                                                                                       Debtor
                                                                                                                    Chapter                  13


              STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
         If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
         a case under chapter 7, 11 or 13, you must report all information requested below.

                  Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                  report any information here.

         This information is for statistical purposes only under 28 U.S.C. § 159.
         Summarize the following types of liabilities, as reported in the Schedules, and total them.


             Type of Liability                                                                  Amount

             Domestic Support Obligations (from Schedule E)                                                      0.00

             Taxes and Certain Other Debts Owed to Governmental Units
             (from Schedule E)
                                                                                                                 0.00

             Claims for Death or Personal Injury While Debtor Was Intoxicated
             (from Schedule E) (whether disputed or undisputed)
                                                                                                                 0.00

             Student Loan Obligations (from Schedule F)                                                          0.00

             Domestic Support, Separation Agreement, and Divorce Decree
             Obligations Not Reported on Schedule E
                                                                                                                 0.00

             Obligations to Pension or Profit-Sharing, and Other Similar Obligations
             (from Schedule F)
                                                                                                                 0.00

                                                                            TOTAL                                0.00


             State the following:

             Average Income (from Schedule I, Line 16)                                                       8,240.00

             Average Expenses (from Schedule J, Line 18)                                                     8,040.00

             Current Monthly Income (from Form 22A Line 12; OR,
             Form 22B Line 11; OR, Form 22C Line 20 )                                                        7,392.50


             State the following:
             1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                 column
                                                                                                                                    31,275.00

             2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                 column
                                                                                                                 0.00

             3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                 PRIORITY, IF ANY" column
                                                                                                                                          0.00

             4. Total from Schedule F                                                                                               34,251.00

             5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                           65,526.00




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 In re        Patricia Maria Murillo                                                                        Case No.      13-40093
                                                                                                ,
                                                                             Debtor

                                                 SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                               Husband,    Current Value of
                                                                   Nature of Debtor's           Wife,     Debtor's Interest in              Amount of
              Description and Location of Property                 Interest in Property         Joint, or  Property, without               Secured Claim
                                                                                              Community Deducting  any Secured
                                                                                                          Claim or Exemption

Rental Property - Single Family Home:                              Fee simple                       -                  250,000.00                531,275.00
4791 Hillside Drive
Castro Valley, CA 94546

Primary Property - Single Family Home:                             Fee simple                       -                  192,500.00                368,147.56
20875 Chester St
Castro Valley, CA 94546




                                                                                                 Sub-Total >           442,500.00          (Total of this page)

                                                                                                        Total >        442,500.00
 0     continuation sheets attached to the Schedule of Real Property
                                                                                                 (Report also on Summary of Schedules)
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 In re         Patricia Maria Murillo                                                                            Case No.       13-40093
                                                                                                     ,
                                                                                    Debtor

                                                    SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

1.    Cash on hand                                        Cash in House                                                     -                         500.00

                                                          Cash in Wallet                                                    -                          40.00

2.    Checking, savings or other financial                Wells Fargo                                                       -                         400.00
      accounts, certificates of deposit, or               Business Checking
      shares in banks, savings and loan,                  Acct 8062
      thrift, building and loan, and
      homestead associations, or credit                   Bank of the West                                                  -                       1,260.00
      unions, brokerage houses, or                        Personal Checking
      cooperatives.                                       Acct 3665

                                                          Chase                                                             -                          85.00
                                                          Personal Checking
                                                          Acct 2858, 9721

                                                          Wells Fargo                                                       -                           0.00
                                                          College/Personal Checking
                                                          Children's Acct

3.    Security deposits with public                   X
      utilities, telephone companies,
      landlords, and others.

4.    Household goods and furnishings,                    Household goods and furniture                                     -                       1,000.00
      including audio, video, and                         Location: 4791 Hillside Dr., Castro Valley CA 94546
      computer equipment.

5.    Books, pictures and other art                   X
      objects, antiques, stamp, coin,
      record, tape, compact disc, and
      other collections or collectibles.

6.    Wearing apparel.                                    Clothing and Shoes                                                -                         200.00
                                                          Location: 4791 Hillside Dr., Castro Valley CA 94546

7.    Furs and jewelry.                                   Jewelry                                                           -                         300.00
                                                          Location: 4791 Hillside Dr., Castro Valley CA 94546




                                                                                                                            Sub-Total >           3,785.00
                                                                                                                (Total of this page)

  3    continuation sheets attached to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.




 In re         Patricia Maria Murillo                                                                            Case No.       13-40093
                                                                                                     ,
                                                                                    Debtor

                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                           (Continuation Sheet)

                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

8.    Firearms and sports, photographic,              X
      and other hobby equipment.

9.    Interests in insurance policies.                X
      Name insurance company of each
      policy and itemize surrender or
      refund value of each.

10. Annuities. Itemize and name each                  X
    issuer.

11. Interests in an education IRA as                  X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                X
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated               X
    and unincorporated businesses.
    Itemize.

14. Interests in partnerships or joint                X
    ventures. Itemize.

15. Government and corporate bonds                    X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                              X

17. Alimony, maintenance, support, and                X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor X
    including tax refunds. Give particulars.


19. Equitable or future interests, life               X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.


                                                                                                                            Sub-Total >                0.00
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Sheet 1 of 3          continuation sheets attached
to the Schedule of Personal Property
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 In re         Patricia Maria Murillo                                                                            Case No.       13-40093
                                                                                                     ,
                                                                                    Debtor

                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                           (Continuation Sheet)

                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

20. Contingent and noncontingent                      X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                 X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.

22. Patents, copyrights, and other                    X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                   X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations              X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                    2001 Acura CL 3.2 Type S Coupe 2D - 143,000 miles                 -                       4,785.00
    other vehicles and accessories.                       Good Condition
                                                          Location: 20875 Chester St, Castro Valley CA 94546

26. Boats, motors, and accessories.                   X

27. Aircraft and accessories.                         X

28. Office equipment, furnishings, and                X
    supplies.

29. Machinery, fixtures, equipment, and               X
    supplies used in business.

30. Inventory.                                        X

31. Animals.                                          X

32. Crops - growing or harvested. Give                X
    particulars.




                                                                                                                            Sub-Total >           4,785.00
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Sheet 2 of 3          continuation sheets attached
to the Schedule of Personal Property
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 In re         Patricia Maria Murillo                                                              Case No.       13-40093
                                                                                       ,
                                                                      Debtor

                                          SCHEDULE B - PERSONAL PROPERTY
                                                             (Continuation Sheet)

                                            N                                                             Husband,        Current Value of
              Type of Property              O              Description and Location of Property            Wife,     Debtor's Interest in Property,
                                            N                                                              Joint, or   without Deducting any
                                            E                                                            Community Secured Claim or Exemption

33. Farming equipment and                   X
    implements.

34. Farm supplies, chemicals, and feed.     X

35. Other personal property of any kind     X
    not already listed. Itemize.




                                                                                                              Sub-Total >                0.00
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                                                                                                                   Total >          8,570.00
Sheet 3 of 3          continuation sheets attached
to the Schedule of Personal Property                                                                          (Report also on Summary of Schedules)
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  In re         Patricia Maria Murillo                                                                                  Case No.           13-40093
                                                                                                            ,
                                                                                        Debtor

                                         SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                   Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                   $146,450. (Amount subject to adjustment on 4/1/13, and every three years thereafter
    11 U.S.C. §522(b)(2)                                                                                        with respect to cases commenced on or after the date of adjustment.)
    11 U.S.C. §522(b)(3)

                                                                                Specify Law Providing                          Value of                 Current Value of
                  Description of Property                                          Each Exemption                              Claimed                  Property Without
                                                                                                                              Exemption               Deducting Exemption
Real Property
Primary Property - Single Family Home:                                    C.C.P. § 703.140(b)(5)                                      8,426.22                     385,000.00
20875 Chester St
Castro Valley, CA 94546

Cash on Hand
Cash in House                                                             C.C.P. § 703.140(b)(5)                                        500.00                           500.00

Cash in Wallet                                                            C.C.P. § 703.140(b)(5)                                          40.00                            40.00

Checking, Savings, or Other Financial Accounts, Certificates of Deposit
Wells Fargo                                       C.C.P. § 703.140(b)(5)                                                                400.00                           400.00
Business Checking
Acct 8062

Bank of the West                                                          C.C.P. § 703.140(b)(5)                                      1,260.00                         1,260.00
Personal Checking
Acct 3665

Chase                                                                     C.C.P. § 703.140(b)(5)                                          85.00                            85.00
Personal Checking
Acct 2858, 9721

Wells Fargo                                                               C.C.P. § 703.140(b)(5)                                            0.00                         800.00
College/Personal Checking
Children's Acct

Household Goods and Furnishings
Household goods and furniture                                             C.C.P. § 703.140(b)(3)                                      1,000.00                         1,000.00
Location: 4791 Hillside Dr., Castro Valley CA
94546

Wearing Apparel
Clothing and Shoes                                                        C.C.P. § 703.140(b)(3)                                        200.00                           200.00
Location: 4791 Hillside Dr., Castro Valley CA
94546

Furs and Jewelry
Jewelry                                                                   C.C.P. § 703.140(b)(4)                                        300.00                           300.00
Location: 4791 Hillside Dr., Castro Valley CA
94546

Automobiles, Trucks, Trailers, and Other Vehicles
2001 Acura CL 3.2 Type S Coupe 2D - 143,000                               C.C.P. § 703.140(b)(2)                                      4,785.00                         4,785.00
miles
Good Condition
Location: 20875 Chester St, Castro Valley CA
94546




                                                                                                            Total:                  16,996.22                       394,370.00
    0     continuation sheets attached to Schedule of Property Claimed as Exempt
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  In re         Patricia Maria Murillo                                                                                     Case No.      13-40093
                                                                                                              ,
                                                                                             Debtor

                                  SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                        C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
             CREDITOR'S NAME                            O                                                              O    N   I
                                                        D   H        DATE CLAIM WAS INCURRED,                          N    L   S        CLAIM
          AND MAILING ADDRESS                           E                                                              T    I   P       WITHOUT              UNSECURED
           INCLUDING ZIP CODE,                          B   W           NATURE OF LIEN, AND                            I    Q   U                            PORTION, IF
                                                        T   J         DESCRIPTION AND VALUE                            N    U   T
                                                                                                                                       DEDUCTING
          AND ACCOUNT NUMBER                            O                                                              G    I   E       VALUE OF                ANY
            (See instructions above.)
                                                            C                OF PROPERTY
                                                        R
                                                                          SUBJECT TO LIEN
                                                                                                                       E    D   D     COLLATERAL
                                                                                                                       N    A
                                                                                                                       T    T
Account No. xxxxxxx738-5                                        Opened 9/25/02 Last Active 11/02/11                         E
                                                                                                                            D

CitiMortgage                                                    First Mortgage
Po Box 9438
                                                              Primary Property - Single Family Home:
Gaithersburg, MD 20898
                                                            - 20875 Chester St
                                                              Castro Valley, CA 94546
                                                                Value $                               385,000.00                        368,147.56                        0.00
Account No. xxxxxx4000                                          Opened 3/24/06 Last Active 12/15/11

Wells Fargo Home Mortgage                                       First Mortgage
4101 Wiseman Blvd # Mc-T
                                                              Rental Property - Single Family Home:
San Antonio, TX 78251
                                                            - 4791 Hillside Drive
                                                              Castro Valley, CA 94546
                                                                Value $                               500,000.00                        531,275.00                 31,275.00
Account No.




                                                                Value $
Account No.




                                                                Value $
                                                                                                                    Subtotal
 0
_____ continuation sheets attached                                                                                                      899,422.56                 31,275.00
                                                                                                           (Total of this page)
                                                                                                                     Total              899,422.56                 31,275.00
                                                                                           (Report on Summary of Schedules)
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 In re         Patricia Maria Murillo                                                                                             Case No.            13-40093
                                                                                                                     ,
                                                                                               Debtor

                  SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
          A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
    to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
    account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
    continuation sheet for each type of priority and label each with the type of priority.
          The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
    so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
    Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
          If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
    schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
    liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
    column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
    "Disputed." (You may need to place an "X" in more than one of these three columns.)
          Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
    "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
          Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
    listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
    also on the Statistical Summary of Certain Liabilities and Related Data.
          Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
    priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
    total also on the Statistical Summary of Certain Liabilities and Related Data.

         Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

    TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
         Domestic support obligations
        Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
    of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

         Extensions of credit in an involuntary case
        Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
    trustee or the order for relief. 11 U.S.C. § 507(a)(3).

         Wages, salaries, and commissions
        Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
    representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
    occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

         Contributions to employee benefit plans
       Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
    whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

         Certain farmers and fishermen
         Claims of certain farmers and fishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

         Deposits by individuals
        Claims of individuals up to $2,600* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
    delivered or provided. 11 U.S.C. § 507(a)(7).

         Taxes and certain other debts owed to governmental units
         Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

         Commitments to maintain the capital of an insured depository institution
       Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
    Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

         Claims for death or personal injury while debtor was intoxicated
       Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
    another substance. 11 U.S.C. § 507(a)(10).




    * Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                            1         continuation sheets attached
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  In re         Patricia Maria Murillo                                                                                   Case No.      13-40093
                                                                                                            ,
                                                                                             Debtor

                   SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                 (Continuation Sheet)
                                                                                                                     Taxes and Certain Other Debts
                                                                                                                      Owed to Governmental Units
                                                                                                                                  TYPE OF PRIORITY
                                                        C   Husband, Wife, Joint, or Community                       C    U   D
            CREDITOR'S NAME,                            O                                                            O    N   I                      AMOUNT NOT
                                                        D                                                            N    L   S                      ENTITLED TO
          AND MAILING ADDRESS                           E   H         DATE CLAIM WAS INCURRED                        T    I   P      AMOUNT          PRIORITY, IF ANY
           INCLUDING ZIP CODE,                          B   W
                                                                    AND CONSIDERATION FOR CLAIM                      I    Q   U
                                                                                                                                     OF CLAIM
          AND ACCOUNT NUMBER                            T   J                                                        N    U   T                                AMOUNT
                                                        O                                                            G    I   E                             ENTITLED TO
             (See instructions.)                        R   C                                                        E    D   D
                                                                                                                     N    A
                                                                                                                                                               PRIORITY
                                                                                                                     T    T
Account No.                                                     Notice Only                                               E
                                                                                                                          D

Employment Development Department
P.O. Box 826880 - UIPCD, MIC 40                                                                                                                      0.00
Sacramento, CA 94280-0001
                                                            -

                                                                                                                                             0.00                 0.00
Account No.                                                     Income Taxes

Franchise Tax Board
PO Box 942867                                                                                                                                        0.00
Sacramento, CA 94267-1111
                                                            -

                                                                                                                                             0.00                 0.00
Account No.                                                     Income Taxes

Internal Revenue Service
PO Box 7346                                                                                                                                          0.00
Philadelphia, PA 19101-7346
                                                            -

                                                                                                                                             0.00                 0.00
Account No.




Account No.




       1
Sheet _____    1
            of _____  continuation sheets attached to                                                             Subtotal                           0.00
Schedule of Creditors Holding Unsecured Priority Claims                                                  (Total of this page)                0.00                 0.00
                                                                                                                     Total                           0.00
                                                                                           (Report on Summary of Schedules)                  0.00                 0.00
                Case: 13-40093                  Doc# 14            Filed: 01/22/13 Entered: 01/22/13 09:18:34
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  In re         Patricia Maria Murillo                                                                                   Case No.         13-40093
                                                                                                               ,
                                                                                             Debtor


               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


      Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                     C    Husband, Wife, Joint, or Community                                C   U   D
                  CREDITOR'S NAME,                                   O                                                                      O   N   I
                  MAILING ADDRESS                                    D    H                                                                 N   L   S
                INCLUDING ZIP CODE,                                  E                DATE CLAIM WAS INCURRED AND                           T   I   P
                                                                          W
               AND ACCOUNT NUMBER
                                                                     B              CONSIDERATION FOR CLAIM. IF CLAIM                       I   Q   U
                                                                                                                                                        AMOUNT OF CLAIM
                                                                     T    J                                                                 N   U   T
                                                                     O                IS SUBJECT TO SETOFF, SO STATE.                       G   I   E
                 (See instructions above.)                           R
                                                                          C
                                                                                                                                            E   D   D
                                                                                                                                            N   A
Account No. xxxx7416                                                          Opened 3/01/07 Last Active 3/01/11                            T   T
                                                                                                                                                E
                                                                              Automobile                                                        D

Ahm
2420 Camino Ramon                                                         -
San Ramon, CA 94583

                                                                                                                                                                            0.00
Account No. xxxxxxxxx7657                                                     Opened 9/30/02 Last Active 8/14/06
                                                                              ConventionalRealEstateMortgage
Amc Mortgage Services
Po Box 11000                                                              -
Santa Ana, CA 92711

                                                                                                                                                                            0.00
Account No. xxxxx8216                                                         Opened 2/28/11 Last Active 8/14/12
                                                                              Auto Lease Damages - Surrendered MDX in
American Honda Finance                                                        Dec 2012
Po Box 5025                                                               -                                                                     X
San Ramon, CA 94583

                                                                                                                                                                     Unknown
Account No. xxxx1010                                                          Opened 9/01/08 Last Active 10/01/07
                                                                              Collection At T West
Bay Area Credit Serv (Original
Creditor:                                                                 -
1901 W 10th St.
Antioch, CA 94509
                                                                                                                                                                            0.00

                                                                                                                                        Subtotal
 8
_____ continuation sheets attached                                                                                                                                          0.00
                                                                                                                              (Total of this page)




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  In re         Patricia Maria Murillo                                                                             Case No.     13-40093
                                                                                                               ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xxxxxxxxxxxx0080                                                  Opened 12/30/02 Last Active 4/01/12                     E
                                                                              CreditCard                                              D

Cap One
Po Box 5253                                                               -
Carol Stream, IL 60197

                                                                                                                                                        7,785.00
Account No. xxxxxxxx3135                                                      Opened 4/14/03 Last Active 9/06/08
                                                                              BusinessCreditCard
Cap One
Po Box 85064                                                              -
Glen Allen, VA 23058

                                                                                                                                                            0.00
Account No. xxxxxx-xxxxxx7590                                                 Opened 12/26/02 Last Active 6/01/12
                                                                              ChargeAccount
Cap1/Bstby
Po Box 5253                                                               -
Carol Stream, IL 60197

                                                                                                                                                        3,131.00
Account No. xxxxxxxxxxxxx2836                                                 Opened 5/20/00 Last Active 10/15/12
                                                                              ChargeAccount
Cb/Vicscrt
Po Box 182789                                                             -
Columbus, OH 43218

                                                                                                                                                          135.00
Account No. xxxxxx7738                                                        Opened 10/02/02 Last Active 6/05/08
                                                                              ConventionalRealEstateMortgage
Cfmc
Po Box 6243                                                               -
Sioux Falls, SD 57117

                                                                                                                                                       Unknown

           1
Sheet no. _____     8
                of _____ sheets attached to Schedule of                                                                         Subtotal
                                                                                                                                                      11,051.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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  In re         Patricia Maria Murillo                                                                             Case No.     13-40093
                                                                                                               ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xxxxxxxxx2676                                                     Opened 6/03/02 Last Active 8/16/04                      E
                                                                              ConventionalRealEstateMortgage                          D

Chase
Po Box 24696                                                              -
Columbus, OH 43224

                                                                                                                                                            0.00
Account No. xxxxxx7738                                                        Opened 10/01/02 Last Active 5/01/09
                                                                              RealEstateSpecificTypeUnknown
Citimortge
Po Box 9438,Dept 0251                                                     -
Gaithersburg, MD 20898-9438

                                                                                                                                                            0.00
Account No. x8451                                                             Opened 2/23/02 Last Active 9/10/07
                                                                              ChargeAccount
Comenity Bank/Justice
Po Box 182789                                                             -
Columbus, OH 43218

                                                                                                                                                            0.00
Account No. xxxxxxxx5662                                                      Opened 12/03/07 Last Active 8/17/12
                                                                              ChargeAccount
Comenity Bank/Pttrybrn
Po Box 182789                                                             -
Columbus, OH 43218

                                                                                                                                                          617.00
Account No. xxxxxxxx9081                                                      Opened 7/13/03 Last Active 5/01/06
                                                                              CreditCard
Discover Fin Svcs Llc
Po Box 15316                                                              -
Wilmington, DE 19850

                                                                                                                                                            0.00

           2
Sheet no. _____     8
                of _____ sheets attached to Schedule of                                                                         Subtotal
                                                                                                                                                          617.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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  In re         Patricia Maria Murillo                                                                             Case No.     13-40093
                                                                                                               ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xxxx8730                                                          Opened 9/07/12                                          E
                                                                              Collection Waste Management Of California               D

Eos Cca (Original Creditor:Waste
Managem                                                                   -
700 Longwater Dr
Norwell, MA 02061
                                                                                                                                                        3,173.00
Account No. xxxxxxxx3621                                                      Opened 11/10/00 Last Active 5/05/06
                                                                              ChargeAccount
Gecrb/Chevro
P.O Box 965005                                                            -
Orlando, FL 32896

                                                                                                                                                            0.00
Account No. xxxxxxxx5283                                                      Opened 8/19/01 Last Active 12/03/08
                                                                              ChargeAccount
Gecrb/Jcp
Po Box 984100                                                             -
El Paso, TX 79998

                                                                                                                                                            0.00
Account No. xxxxxxxx8340                                                      Opened 5/26/99 Last Active 5/07/06
                                                                              ChargeAccount
Gecrb/Mervyn
Po Box 965005                                                             -
Orlando, FL 32896

                                                                                                                                                            0.00
Account No. xxxxxxxx0198                                                      Opened 8/23/04 Last Active 7/16/08
                                                                              ChargeAccount
Gecrb/Old Navy
Po Box 965005                                                             -
Orlando, FL 32896

                                                                                                                                                            0.00

           3
Sheet no. _____     8
                of _____ sheets attached to Schedule of                                                                         Subtotal
                                                                                                                                                        3,173.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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  In re         Patricia Maria Murillo                                                                             Case No.     13-40093
                                                                                                               ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xxxxxxxxxxxx6919                                                  Opened 3/07/08 Last Active 9/19/12                      E
                                                                              CreditCard                                              D

Gecrb/Oldnavydc
Po Box 965005                                                             -
Orlando, FL 32896

                                                                                                                                                       Unknown
Account No. xxxxxxxxxxxx0437                                                  Opened 6/07/06 Last Active 11/14/11
                                                                              CreditCard
Gecrb/Paypal Extras Mc
Po Box 965005                                                             -
Orlando, FL 32896

                                                                                                                                                       Unknown
Account No. xxxxxxxx1473                                                      Opened 6/29/08
                                                                              ChargeAccount
Gecrb/Walmar
Po Box 981400                                                             -
El Paso, TX 79998

                                                                                                                                                            0.00
Account No. xxxxxxxx6937                                                      Opened 3/01/04 Last Active 6/13/07
                                                                              Automobile
Gmac
P O Box 380901                                                            -
Bloomington, MN 55438

                                                                                                                                                            0.00
Account No. xxxxxxxx0439                                                      Opened 12/30/02 Last Active 1/12/05
                                                                              CreditCard
Hsbc Bank
Po Box 5253                                                               -
Carol Stream, IL 60197

                                                                                                                                                            0.00

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Sheet no. _____     8
                of _____ sheets attached to Schedule of                                                                         Subtotal
                                                                                                                                                            0.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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  In re         Patricia Maria Murillo                                                                             Case No.     13-40093
                                                                                                               ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xxxxxx-xxxxxx0522                                                 Opened 3/01/04 Last Active 3/31/06                      E
                                                                              ChargeAccount                                           D

Hsbc/Levtz
90 Christinana Road                                                       -
New Castle, DE 19720

                                                                                                                                                            0.00
Account No. xxxxx5725                                                         Opened 1/01/01 Last Active 8/03/04
                                                                              InstallmentSalesContract
Isuzu Mtrs
999 N.W. Grand Blvd                                                       -
Oklahoma City, OK 73118

                                                                                                                                                            0.00
Account No. xxxxxxxxx4220                                                     Opened 12/29/98 Last Active 8/12/12
                                                                              ChargeAccount
Mcydsnb
9111 Duke Blvd                                                            -
Mason, OH 45040

                                                                                                                                                            0.00
Account No. xxxxxxxxxxxx5411                                                  Opened 3/09/01 Last Active 8/04/03
                                                                              CombinedCreditPlan
Odpt/Cbna
Po Box 6497                                                               -
Sioux Falls, SD 57117-6497

                                                                                                                                                            0.00
Account No. xxxxxxxx6281                                                      Opened 8/01/98 Last Active 9/27/07
                                                                              ChargeAccount
Sears/Cbna
Po Box 6282                                                               -
Sioux Falls, SD 57117

                                                                                                                                                            0.00

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Sheet no. _____     8
                of _____ sheets attached to Schedule of                                                                         Subtotal
                                                                                                                                                            0.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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  In re         Patricia Maria Murillo                                                                             Case No.     13-40093
                                                                                                               ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xxxxxxxxxxxxx7205                                                 Opened 11/16/02 Last Active 12/24/03                    E
                                                                              ChargeAccount                                           D

Springleaf Financial S
600 N King St                                                             -
Wilmington, DE 19801

                                                                                                                                                            0.00
Account No. xxxxxxxxxxxx6665                                                  Opened 7/06/03 Last Active 3/01/09
                                                                              CreditCard
Target Nb
C/O Target Credit Services                                                -
Minneapolis, MN 55440-0673

                                                                                                                                                            0.00
Account No. xxxxxxxxxxxx5324                                                  Opened 7/22/00 Last Active 10/01/12
                                                                              ChargeAccount
Thd/Cbna
Po Box 6497                                                               -
Sioux Falls, SD 57117

                                                                                                                                                          383.00
Account No. x1417                                                             Opened 9/11/98 Last Active 9/01/12
                                                                              CreditCard
Tnb - Target
Po Box 9745                                                               -
Minneapolis, MN 55440

                                                                                                                                                          649.00
Account No. xxxxxxxx6927                                                      Opened 12/01/05 Last Active 10/20/10
                                                                              CreditCard
Us Bank
Cb Disputes Po Box 108                                                    -
Saint Louis, MO 63166

                                                                                                                                                            0.00

           6
Sheet no. _____     8
                of _____ sheets attached to Schedule of                                                                         Subtotal
                                                                                                                                                        1,032.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




  In re         Patricia Maria Murillo                                                                             Case No.     13-40093
                                                                                                               ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xxxxxxxxxxxx8995                                                  Opened 5/14/01 Last Active 8/12/03                      E
                                                                              CreditCard                                              D

Visa/Dsnb
9111 Duke Blvd                                                            -
Mason, OH 45040

                                                                                                                                                            0.00
Account No. xxxxxxxxxxxxx1998                                                 Opened 10/20/04 Last Active 3/27/06
                                                                              HomeEquityLineOfCredit
W Fargo Bk
Po Box 31557                                                              -
Billings, MT 59107

                                                                                                                                                            0.00
Account No. xxxxxxxxxxxxx1998                                                 Opened 1/02/04 Last Active 9/24/04
                                                                              HomeEquityLineOfCredit
W Fargo Bk
Po Box 31557                                                              -
Billings, MT 59107

                                                                                                                                                            0.00
Account No. xx1246                                                            Opened 3/06/07 Last Active 8/13/12
                                                                              CheckCreditOrLineOfCredit
Wf/Pcm
Cbdru-Pcm Po Box 3117                                                     -
Winston Salem, NC 27102

                                                                                                                                                        8,777.00
Account No. xxxxxxxx9303                                                      Opened 7/01/03 Last Active 8/22/12
                                                                              CreditCard
Wfb Cd Svc
Credit Bureau Dispute Resolut                                             -
Des Moines, IA 50306

                                                                                                                                                        9,601.00

           7
Sheet no. _____     8
                of _____ sheets attached to Schedule of                                                                         Subtotal
                                                                                                                                                      18,378.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




  In re         Patricia Maria Murillo                                                                                   Case No.      13-40093
                                                                                                                ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                             C   U   D
                  CREDITOR'S NAME,                                   O                                                                   O   N   I
                  MAILING ADDRESS                                    D    H                                                              N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                        T   I   P
                                                                     B                                                                   I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.                    G   I   E
                 (See instructions above.)                           R                                                                   E   D   D
                                                                                                                                         N   A
                                                                                                                                         T   T
Account No. xxxxxxxxx2453                                                     Opened 9/22/04 Last Active 3/01/06                             E
                                                                              ConventionalRealEstateMortgage                                 D

Wfhm
4101 Wiseman Blvd # Mc-T                                                  -
San Antonio, TX 78251

                                                                                                                                                                   0.00
Account No.




Account No.




Account No.




Account No.




           8
Sheet no. _____     8
                of _____ sheets attached to Schedule of                                                                                Subtotal
                                                                                                                                                                   0.00
Creditors Holding Unsecured Nonpriority Claims                                                                               (Total of this page)
                                                                                                                                         Total
                                                                                                               (Report on Summary of Schedules)              34,251.00


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B6G (Official Form 6G) (12/07)


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 In re             Patricia Maria Murillo                                                                      Case No.        13-40093
                                                                                                     ,
                                                                                   Debtor

                        SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
              Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
              of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
              complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
              state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
              disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                 Check this box if debtor has no executory contracts or unexpired leases.
                                                                                     Description of Contract or Lease and Nature of Debtor's Interest.
                  Name and Mailing Address, Including Zip Code,                           State whether lease is for nonresidential real property.
                      of Other Parties to Lease or Contract                                 State contract number of any government contract.

                    American Honda Finance                                              $685 per month, Began 2/28/2011 and Ends
                    P.O. Box 5025                                                       2/28/2015
                    San Ramon, CA 94583




      0
                continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
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B6H (Official Form 6H) (12/07)


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 In re          Patricia Maria Murillo                                                                  Case No.       13-40093
                                                                                              ,
                                                                               Debtor

                                                              SCHEDULE H - CODEBTORS
        Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
    by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
    commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
    Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
    any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
    by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
    state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
    disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
        Check this box if debtor has no codebtors.
                 NAME AND ADDRESS OF CODEBTOR                                     NAME AND ADDRESS OF CREDITOR




      0
              continuation sheets attached to Schedule of Codebtors
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B6I (Official Form 6I) (12/07)
 In re    Patricia Maria Murillo                                                                        Case No.        13-40093
                                                                         Debtor(s)

                           SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
Debtor's Marital Status:                                                  DEPENDENTS OF DEBTOR AND SPOUSE
                                        RELATIONSHIP(S):                                             AGE(S):
      Single                                 Son                                                         13
                                             Daughter                                                    17
                                             Daughter                                                    8
Employment:                                           DEBTOR                                                       SPOUSE
Occupation                          Child Care Coordinator
Name of Employer                    Davis St. Family Resouce Center
How long employed                   Since June 2010
Address of Employer                 3081 Teagarden St
                                    San Leandro, CA 94577
INCOME: (Estimate of average or projected monthly income at time case filed)                                   DEBTOR                     SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                            $       3,400.00          $           N/A
2. Estimate monthly overtime                                                                             $           0.00          $           N/A

3. SUBTOTAL                                                                                              $         3,400.00        $                N/A


4. LESS PAYROLL DEDUCTIONS
     a. Payroll taxes and social security                                                                $             450.00      $                N/A
     b. Insurance                                                                                        $              60.00      $                N/A
     c. Union dues                                                                                       $               0.00      $                N/A
     d. Other (Specify):                                                                                 $               0.00      $                N/A
                                                                                                         $               0.00      $                N/A

5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $             510.00      $                N/A

6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $         2,890.00        $                N/A

7. Regular income from operation of business or profession or farm (Attach detailed statement)           $               0.00      $                N/A
8. Income from real property                                                                             $               0.00      $                N/A
9. Interest and dividends                                                                                $               0.00      $                N/A
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that of
      dependents listed above                                                                            $               0.00      $                N/A
11. Social security or government assistance
(Specify):                                                                                               $               0.00      $                N/A
                                                                                                         $               0.00      $                N/A
12. Pension or retirement income                                                                         $               0.00      $                N/A
13. Other monthly income
(Specify):           Contribution from Mark Michieli                                                     $         2,500.00        $                N/A
                     Hillside Drive - Rental Income                                                      $         2,850.00        $                N/A

14. SUBTOTAL OF LINES 7 THROUGH 13                                                                       $         5,350.00        $                N/A

15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                         $         8,240.00        $                N/A

16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)                                          $            8,240.00
                                                                                (Report also on Summary of Schedules and, if applicable, on
                                                                                Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:




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B6J (Official Form 6J) (12/07)
 In re    Patricia Maria Murillo                                                              Case No.    13-40093
                                                                  Debtor(s)

         SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
    Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time
case filed. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly
expenses calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
1. Rent or home mortgage payment (include lot rented for mobile home)                                       $                 2,698.00
 a. Are real estate taxes included?                            Yes X              No
 b. Is property insurance included?                            Yes X              No
2. Utilities:      a. Electricity and heating fuel                                                          $                   120.00
                   b. Water and sewer                                                                       $                    35.00
                   c. Telephone                                                                             $                     0.00
                   d. Other See Detailed Expense Attachment                                                 $                   150.00
3. Home maintenance (repairs and upkeep)                                                                    $                    35.00
4. Food                                                                                                     $                   700.00
5. Clothing                                                                                                 $                   105.00
6. Laundry and dry cleaning                                                                                 $                    40.00
7. Medical and dental expenses                                                                              $                    45.00
8. Transportation (not including car payments)                                                              $                   260.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                         $                   100.00
10. Charitable contributions                                                                                $                   100.00
11. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner's or renter's                                                               $                     0.00
                   b. Life                                                                                  $                     0.00
                   c. Health                                                                                $                    54.00
                   d. Auto                                                                                  $                    80.00
                   e. Other                                                                                 $                     0.00
12. Taxes (not deducted from wages or included in home mortgage payments)
                 (Specify)                                                                                   $                    0.00
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the
plan)
                   a. Auto                                                                                  $                     0.00
                   b. Other 1st Mortgage for Hillside Dr.                                                   $                 2,698.00
                   c. Other Insurance for Hillside Dr.                                                      $                    75.00
14. Alimony, maintenance, and support paid to others                                                        $                     0.00
15. Payments for support of additional dependents not living at your home                                   $                     0.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)            $                     0.00
17. Other See Detailed Expense Attachment                                                                   $                   745.00

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                    $                 8,040.00
if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
following the filing of this document:

20. STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule I                                                        $                 8,240.00
b. Average monthly expenses from Line 18 above                                                              $                 8,040.00
c. Monthly net income (a. minus b.)                                                                         $                   200.00




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B6J (Official Form 6J) (12/07)
 In re    Patricia Maria Murillo                                               Case No.   13-40093
                                                           Debtor(s)

                  SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                              Detailed Expense Attachment
Other Utility Expenditures:
Cable/Satellite/Internet                                                                  $              50.00
Garbage Collection                                                                        $              25.00
Cell Phone                                                                                $              75.00
Total Other Utility Expenditures                                                          $             150.00




Other Expenditures:
Toiletries                                                                                $              80.00
Birthdays/Haircuts/Holidays                                                               $             130.00
Vehicle Registration                                                                      $              33.00
Vehicle Maintenance/Repairs                                                               $              57.00
Childcare                                                                                 $             100.00
Tuition for Children                                                                      $             345.00
Total Other Expenditures                                                                  $             745.00




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B6 Declaration (Official Form 6 - Declaration). (12/07)
                                                          United States Bankruptcy Court
                                                               Northern District of California
 In re      Patricia Maria Murillo                                                                              Case No.   13-40093
                                                                                   Debtor(s)                    Chapter    13




                                      DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of              25
            sheets, and that they are true and correct to the best of my knowledge, information, and belief.




 Date January 22, 2013                                                 Signature   /s/ Patricia Maria Murillo
                                                                                   Patricia Maria Murillo
                                                                                   Debtor

    Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                     18 U.S.C. §§ 152 and 3571.




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B7 (Official Form 7) (12/12)



                                                          United States Bankruptcy Court
                                                               Northern District of California
 In re       Patricia Maria Murillo                                                                            Case No.       13-40093
                                                                                Debtor(s)                      Chapter        13

                                                   STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                              DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

           "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any persons in control of a corporate debtor and
their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(2), (31).


               1. Income from employment or operation of business

    None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
               business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
               year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
               calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
               report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                            SOURCE
                          $3,600.00                         2013 YTD: Debtor Employment Income (estimate)
                          $26,000.00                        2012: Debtor Employment Income (estimate)
                          $86,400.00                        2012: Debtor Self-Employment (estimate)
                          $21,237.00                        2011: Debtor Employment Income
                          $132,115.00                       2011: Debtor Self-Employment




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B 7 (12/12)                                                                                                                                                 2

              2. Income other than from employment or operation of business

     None     State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
              during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
              each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
              petition is filed, unless the spouses are separated and a joint petition is not filed.)

                        AMOUNT                              SOURCE

              3. Payments to creditors

     None     Complete a. or b., as appropriate, and c.

              a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or
              services, and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the
              aggregate value of all property that constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any
              payments that were made to a creditor on account of a domestic support obligation or as part of an alternative repayment schedule under
              a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must
              include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is
              not filed.)

NAME AND ADDRESS                                                        DATES OF                                                       AMOUNT STILL
   OF CREDITOR                                                          PAYMENTS                             AMOUNT PAID                 OWING

     None     b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
              immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
              transfer is less than $5,850*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
              account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
              budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments and other
              transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
              filed.)

                                                                                                                  AMOUNT
                                                                        DATES OF                                   PAID OR
                                                                        PAYMENTS/                                VALUE OF              AMOUNT STILL
NAME AND ADDRESS OF CREDITOR                                            TRANSFERS                               TRANSFERS                OWING

     None     c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
              creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
              spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR AND                                                                                                       AMOUNT STILL
     RELATIONSHIP TO DEBTOR                                             DATE OF PAYMENT                      AMOUNT PAID                 OWING

              4. Suits and administrative proceedings, executions, garnishments and attachments

     None     a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
              this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
              whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

CAPTION OF SUIT                                                        NATURE OF         COURT OR AGENCY                                 STATUS OR
AND CASE NUMBER                                                        PROCEEDING        AND LOCATION                                    DISPOSITION

     None     b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
              preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
              property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
              filed.)

NAME AND ADDRESS OF PERSON FOR WHOSE                                                        DESCRIPTION AND VALUE OF
   BENEFIT PROPERTY WAS SEIZED                                         DATE OF SEIZURE             PROPERTY



*   Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

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              5. Repossessions, foreclosures and returns

   None       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
              returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
              or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
              spouses are separated and a joint petition is not filed.)

                                                                DATE OF REPOSSESSION,
NAME AND ADDRESS OF                                               FORECLOSURE SALE,           DESCRIPTION AND VALUE OF
 CREDITOR OR SELLER                                              TRANSFER OR RETURN                    PROPERTY
American Honda Finance                                         December 2012                  Voluntary Surrender of a 2011 Acura MDX
Po Box 5025
San Ramon, CA 94583

              6. Assignments and receiverships

   None       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
              this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
              joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                               DATE OF
NAME AND ADDRESS OF ASSIGNEE                                   ASSIGNMENT                     TERMS OF ASSIGNMENT OR SETTLEMENT

   None       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
              preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
              property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
              filed.)

                                                          NAME AND LOCATION
NAME AND ADDRESS                                               OF COURT                         DATE OF            DESCRIPTION AND VALUE OF
  OF CUSTODIAN                                            CASE TITLE & NUMBER                   ORDER                    PROPERTY

              7. Gifts

   None       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
              and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
              aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
              either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

  NAME AND ADDRESS OF                                     RELATIONSHIP TO                                             DESCRIPTION AND
PERSON OR ORGANIZATION                                     DEBTOR, IF ANY                     DATE OF GIFT             VALUE OF GIFT

              8. Losses

   None       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
              since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
              spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                       DESCRIPTION OF CIRCUMSTANCES AND, IF
DESCRIPTION AND VALUE                                                  LOSS WAS COVERED IN WHOLE OR IN PART
    OF PROPERTY                                                           BY INSURANCE, GIVE PARTICULARS                        DATE OF LOSS




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              9. Payments related to debt counseling or bankruptcy

   None       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
              concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
              preceding the commencement of this case.

                                                                         DATE OF PAYMENT,                                  AMOUNT OF MONEY
NAME AND ADDRESS                                                       NAME OF PAYOR IF OTHER                          OR DESCRIPTION AND VALUE
    OF PAYEE                                                                THAN DEBTOR                                       OF PROPERTY
Law Offices of Stan E. Riddle                                          November 2012                                  $1,200.00 plus $281 Filing Fee
2175 N. California Blvd, Suite 805
Walnut Creek, CA 94596

              10. Other transfers

   None       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
              transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
              filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
              spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF TRANSFEREE,                                                                 DESCRIBE PROPERTY TRANSFERRED
    RELATIONSHIP TO DEBTOR                                             DATE                            AND VALUE RECEIVED

   None       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
              trust or similar device of which the debtor is a beneficiary.

NAME OF TRUST OR OTHER                                                                          AMOUNT OF MONEY OR DESCRIPTION AND
DEVICE                                                                 DATE(S) OF               VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                       TRANSFER(S)              IN PROPERTY

              11. Closed financial accounts

   None       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
              otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
              financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
              cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
              include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
              unless the spouses are separated and a joint petition is not filed.)

                                                                         TYPE OF ACCOUNT, LAST FOUR
                                                                         DIGITS OF ACCOUNT NUMBER,                     AMOUNT AND DATE OF SALE
NAME AND ADDRESS OF INSTITUTION                                         AND AMOUNT OF FINAL BALANCE                           OR CLOSING

              12. Safe deposit boxes

   None       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
              immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
              depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
              filed.)

                                                      NAMES AND ADDRESSES
NAME AND ADDRESS OF BANK                              OF THOSE WITH ACCESS                       DESCRIPTION                   DATE OF TRANSFER OR
 OR OTHER DEPOSITORY                                  TO BOX OR DEPOSITORY                       OF CONTENTS                    SURRENDER, IF ANY

              13. Setoffs

   None       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
              commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
              spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR                                           DATE OF SETOFF                                  AMOUNT OF SETOFF




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              14. Property held for another person

   None       List all property owned by another person that the debtor holds or controls.


NAME AND ADDRESS OF OWNER                             DESCRIPTION AND VALUE OF PROPERTY                  LOCATION OF PROPERTY

              15. Prior address of debtor

   None       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
              occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
              address of either spouse.

ADDRESS                                                                NAME USED                                      DATES OF OCCUPANCY

              16. Spouses and Former Spouses

   None       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
              Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
              commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
              the community property state.

NAME

              17. Environmental Information.

              For the purpose of this question, the following definitions apply:

              "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
              or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
              statutes or regulations regulating the cleanup of these substances, wastes, or material.

                   "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly
                   owned or operated by the debtor, including, but not limited to, disposal sites.

                   "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
                   pollutant, or contaminant or similar term under an Environmental Law

   None       a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
              or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
              the Environmental Law:

                                                      NAME AND ADDRESS OF                       DATE OF                      ENVIRONMENTAL
SITE NAME AND ADDRESS                                 GOVERNMENTAL UNIT                         NOTICE                       LAW

   None       b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
              Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                      NAME AND ADDRESS OF                       DATE OF                      ENVIRONMENTAL
SITE NAME AND ADDRESS                                 GOVERNMENTAL UNIT                         NOTICE                       LAW

   None       c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
              the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
              docket number.

NAME AND ADDRESS OF
GOVERNMENTAL UNIT                                                      DOCKET NUMBER                                  STATUS OR DISPOSITION




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              18 . Nature, location and name of business

   None       a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
              ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
              partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
              immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
              within six years immediately preceding the commencement of this case.

              If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
              ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
              years immediately preceding the commencement of this case.

              If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
              ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
              years immediately preceding the commencement of this case.

                                LAST FOUR DIGITS OF
                                SOCIAL-SECURITY OR
                                OTHER INDIVIDUAL
                                TAXPAYER-I.D. NO.                                                                                 BEGINNING AND
NAME                            (ITIN)/ COMPLETE EIN             ADDRESS                         NATURE OF BUSINESS               ENDING DATES
Lil' Sunflowers Child                                                                            Sole Proprietorship              1997 to November 15,
Care Program                                                                                                                      2012

   None       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


NAME                                                                   ADDRESS


    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor, or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

              19. Books, records and financial statements

   None       a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
              supervised the keeping of books of account and records of the debtor.

NAME AND ADDRESS                                                                                          DATES SERVICES RENDERED

   None       b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
              of account and records, or prepared a financial statement of the debtor.

NAME                                            ADDRESS                                                   DATES SERVICES RENDERED

   None       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
              of the debtor. If any of the books of account and records are not available, explain.

NAME                                                                                   ADDRESS

   None       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
              issued by the debtor within two years immediately preceding the commencement of this case.

NAME AND ADDRESS                                                                                DATE ISSUED




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              20. Inventories

   None       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
              and the dollar amount and basis of each inventory.

                                                                                                          DOLLAR AMOUNT OF INVENTORY
DATE OF INVENTORY                               INVENTORY SUPERVISOR                                      (Specify cost, market or other basis)

   None       b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.


                                                                               NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
DATE OF INVENTORY                                                              RECORDS

              21 . Current Partners, Officers, Directors and Shareholders

   None       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


NAME AND ADDRESS                                                       NATURE OF INTEREST                             PERCENTAGE OF INTEREST

   None       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
              controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                          NATURE AND PERCENTAGE
NAME AND ADDRESS                                                       TITLE                              OF STOCK OWNERSHIP

              22 . Former partners, officers, directors and shareholders

   None       a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
              commencement of this case.

NAME                                                      ADDRESS                                                   DATE OF WITHDRAWAL

   None       b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
              immediately preceding the commencement of this case.

NAME AND ADDRESS                                                       TITLE                              DATE OF TERMINATION

              23 . Withdrawals from a partnership or distributions by a corporation

   None       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
              in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
              commencement of this case.

NAME & ADDRESS                                                                                                        AMOUNT OF MONEY
OF RECIPIENT,                                                          DATE AND PURPOSE                               OR DESCRIPTION AND
RELATIONSHIP TO DEBTOR                                                 OF WITHDRAWAL                                  VALUE OF PROPERTY

              24. Tax Consolidation Group.

   None       If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
              group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
              of the case.

NAME OF PARENT CORPORATION                                                                           TAXPAYER IDENTIFICATION NUMBER (EIN)




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              25. Pension Funds.

   None       If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an
              employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

NAME OF PENSION FUND                                                                                    TAXPAYER IDENTIFICATION NUMBER (EIN)

                                                                              ******

                             DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


Date January 22, 2013                                                  Signature   /s/ Patricia Maria Murillo
                                                                                   Patricia Maria Murillo
                                                                                   Debtor

                 Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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                                                               United States Bankruptcy Court
                                                                       Northern District of California
 In re      Patricia Maria Murillo                                                                       Case No.   13-40093
                                                                                     Debtor(s)           Chapter    13



                                         Rights and Responsibilities of Chapter 13 Debtors
                                                      And Their Attorneys

It is important for debtors who file a bankruptcy case under Chapter 13 to understand their rights and responsibilities. It
is also important that the debtors know what their attorneys' responsibilities are, and understand the importance of
communicating with their attorney to make the case successful. Debtors should know that they may expect certain
services to be performed by their attorney. In order to assure that debtors and their attorneys understand their rights and
responsibilities in the bankruptcy process, the following guidelines provided by the court are hereby agreed to by the
debtors and their attorneys. Unless the Court orders otherwise:

BEFORE THE CASE IS FILED

            The debtor agrees to:

1.          Provide the attorney with accurate financial information.

2.          Discuss with the attorney the debtor's objectives in filing the case.

            The attorney agrees to:

1.          Meet with the debtor to review the debtor's debts, assets, liabilities, income and expenses.

2.          Counsel the debtor regarding the advisability of filing either a Chapter 7 or Chapter 13 case, discuss both
            procedures with the debtor, and answer the debtor's questions.

3.          Explain what payments will be made directly by the debtor and what payments will be made through the debtor's
            Chapter 13 Plan, with particular attention to mortgage and vehicle loan payments, as well as any other claims
            which accrue interest.

4.          Explain to the debtor how, when and where to make the Chapter 13 plan payment.

5.          Explain to the debtor how the attorney fees and trustee fees are paid and provide an executed copy of this
            document to the debtor.

6.          Explain to the debtor that the first plan payment must be made to the Trustee within 30 days after the date of the
            filing of the plan or order for relief, whichever is earlier.

7.          Advise the debtor of the requirement to attend the 341 Meeting of Creditors, and instruct the debtor as to the
            date, time and place of the meeting.

8.          Advise the debtor of the necessity of maintaining liability, collision and comprehensive insurance on vehicles
            securing loans or lease.

9.          Timely prepare and file the debtor's petition, plan statements and schedules.

10.         Accept a retainer of no more than $2,000, unless the attorney makes a special application to the court for
            approval of a larger retainer.


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AFTER THE CASE IS FILED

           The debtor agrees to:

1.         Keep the Trustee and attorney informed of the debtor's address and telephone number.

2.         Inform the attorney of any wage garnishments or attachments of assets which occur or continue after the filing of
           the case.

3.         Contact the attorney promptly if the debtor loses his/her job or has other financial problems.

4.         Let the attorney know if the debtor is sued during the case.

5.         Inform the attorney if any tax refunds the debtor is entitled to are seized or not returned to the debtor by the IRS
           or Franchise Tax Board.

6.         Contact the attorney before buying, refinancing, or selling real property or before entering into any long-term
           loan agreements to find out what approvals are required.

7.         Pay any filing fees and expenses that may be incurred directly to the attorney.

           The attorney agrees to provide the following legal services:

1.         Appear at the 341 Meeting of Creditors with the debtor.

2.         Respond to objections to plan confirmation, and where necessary, prepare an amended plan.

3.         Prepare, file and serve necessary modifications to the plan which may include suspending, lowering or increasing
           plan payments.

4.         Prepare, file and serve necessary amended statements and schedules, in accordance with information provided by
           the debtor.

5.         Prepare, file and serve necessary motions to buy, sell or refinance real property when appropriate.

6.         Object to improper or invalid claims, if necessary, based upon documentation provided by the debtor.

7.         Represent the debtor in motions for relief from stay.

8.         Where appropriate, prepare, file and serve necessary motions to avoid liens on real or personal property.

9.         Provide such other legal services as are necessary for the administration of the present case before the
           Bankruptcy Court.

The "Guidelines for Payment of Attorneys fees in Chapter 13 Cases for the Oakland Division" provide for maximum
initial fees in the following amounts: $4,800 in non-business cases and $6,000 in business cases. Any retainer of more
than $2,000 will be closely scrutinized by both the Chapter 13 Trustee and the Court.

Initial fees charged in this case are $ 4,800.00 .
If the initial fees ordered by the court are not sufficient to compensate the attorney for the legal services rendered in this
case, the attorney further agrees to apply to the court for any additional fees. Fees shall be paid through the plan unless
otherwise ordered. The attorney may not receive fees directly from the debtor other than the initial retainer.




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If the debtor disputes the legal services provided or the fees charged by the attorney, an objection may be filed with the
court and the matter set for hearing. The attorney may move to withdraw or the debtor may discharge the attorney at any
time.

Date January 22, 2013                                                  Signature   /s/ Patricia Maria Murillo
                                                                                   Patricia Maria Murillo
                                                                                   Debtor
Attorney /s/ Stan E. Riddle
               Stan E. Riddle




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B 201A (Form 201A) (11/12)



                                                 UNITED STATES BANKRUPTCY COURT
                                                 NORTHERN DISTRICT OF CALIFORNIA
                                      NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                               OF THE BANKRUPTCY CODE
          In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of
bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General
may examine all information you supply in connection with a bankruptcy case.

         You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that
you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any changes in
your address. If you are filing a joint case (a single bankruptcy case for two individuals married to each other), and each spouse lists
the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of each notice mailed
from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court requesting that each spouse
receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies
          With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator. The
clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a
joint case must complete the briefing.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

           Chapter 7: Liquidation ($245 filing fee, $46 administrative fee, $15 trustee surcharge: Total Fee $306)
         Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted to
proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some cases,
the United States trustee (or bankruptcy administrator), the trustee, or creditors have the right to file a motion requesting that the court
dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
         Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
         The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the
purpose for which you filed the bankruptcy petition will be defeated.
         Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property settlement
obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while intoxicated
from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and
malicious injury, the bankruptcy court may determine that the debt is not discharged.

       Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
$46 administrative fee: Total fee $281)
           Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments over


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a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy
Code.
         Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using
your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.
         After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.

           Chapter 11: Reorganization ($1,167 filing fee, $46 administrative fee: Total fee $1,213)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

           Chapter 12: Family Farmer or Fisherman ($200 filing fee, $46 administrative fee: Total fee $246)
         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court. The
documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.




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B 201B (Form 201B) (12/09)
                                                          United States Bankruptcy Court
                                                               Northern District of California
 In re     Patricia Maria Murillo                                                                            Case No.       13-40093
                                                                                 Debtor(s)                   Chapter        13

                                 CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                     UNDER § 342(b) OF THE BANKRUPTCY CODE
                                                                       Certification of Debtor
           I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy
Code.
Patricia Maria Murillo                                                             X /s/ Patricia Maria Murillo                   January 22, 2013
Printed Name(s) of Debtor(s)                                                         Signature of Debtor                          Date

Case No. (if known) 13-40093                                                       X
                                                                                       Signature of Joint Debtor (if any)         Date




Instructions: Attach a copy of Form B 201 A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has NOT been made on the
Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor's attorney that the attorney has given the
notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on page 3 of Form B1 also include this certification.
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                                                          United States Bankruptcy Court
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 In re     Patricia Maria Murillo                                                                           Case No.   13-40093
                                                                                  Debtor(s)                 Chapter    13




                                                     CREDITOR MATRIX COVER SHEET



         I declare that the attached Creditor Mailing Matrix, consisting of 6 sheets, contains the correct, complete and current
names and addresses of all priority, secured and unsecured creditors listed in debtor's filing and that this matrix conforms with the
Clerk's promulgated requirements.




Date: January 22, 2013                                                 /s/ Stan E. Riddle
                                                                       Signature of Attorney
                                                                       Stan E. Riddle
                                                                       Law Offices of Stan E. Riddle
                                                                       2175 N. California Blvd, Suite 805
                                                                       Walnut Creek, CA 94596
                                                                       925-818-2795 Fax: 925-262-4643




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